     Case 3:18-cv-01668-NJR Document 1 Filed 08/30/18 Page 1 of 3 Page ID #1




                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF ILLINOIS
                                EAST ST. LOUIS DIVISION

L M,                                            )
                                                )
                Plaintiff,                      )
                                                )         Case No. 18-1668
v.                                              )
                                                )         Circuit Court of the 3rd Judicial Circuit
SOUTHERN ILLINOIS UNIVERSITY                    )         Madison County, Illinois
AT EDWARDSVILLE (SIUE) and                      )         Case No. 2018MR000302
RANDALL G. PEMBROOK, in his                     )
official capacity as Chancellor of SIUE,        )
                                                )
                Defendants.                     )

                                     NOTICE OF REMOVAL

        COME NOW Defendants Southern Illinois University at Edwardsville (SIUE) and Randall

G. Pembrook (“Defendants”), by and through their attorneys, TUETH KEENEY COOPER MOHAN &

JACKSTADT, P.C., and pursuant to 28 U.S.C. § 1441 and 28 U.S.C. § 1446, hereby remove the

above-captioned case from the Circuit Court for the 3rd Judicial Circuit, Madison County, Illinois,

to the United States District Court for the Southern District of Illinois. In support of this removal,

Defendants state as follows:

        1.      On or about July 23, 2018, Plaintiff L.M., (“Plaintiff”) filed a Complaint (the

“Complaint”) in the Circuit Court for the 3rd Judicial Circuit, Madison County, Illinois, Case No.

2018MR000302.

        2.      Defendants were served with summons and the Complaint on August 2, 2018.

        3.      This Notice of Removal is timely under 28 U.S.C. § 1446(b) as this Notice is being

filed “within 30 days after the receipt by the defendant, through service or otherwise, of a copy of

the initial pleading setting forth the claim for relief.”



                                                 18-1668
                                                Page 1 of 3
   Case 3:18-cv-01668-NJR Document 1 Filed 08/30/18 Page 2 of 3 Page ID #2




       4.      Pursuant to 28 U.S.C. § 1446(a), attached to this Notice of Removal is a complete

copy of “all process, pleadings, and orders” served upon Defendants.         These documents are

attached hereto and filed herewith as Exhibit A. Defendants have not been served with any other

papers, pleadings, or orders in this matter.

       5.      Defendants have not filed an Answer or otherwise responded to Plaintiff’s

Complaint.

       6.      This action is a civil action over which this Court has original jurisdiction under 28

U.S.C. § 1331, and is one that may be removed to this Court by Defendants pursuant to the

provisions of 28 USC §1441(a) in that it arises under Title IX of the Education Amendments of

1972, 20 USC §§ 1681-1688, and Section 1983 of Title 42 the U.S. Code, 42 USC § 1983.

       7.      This Court has supplemental jurisdiction over Plaintiff’s state law claim (Count VI)

pursuant to 28 U.S.C. § 1367.

       8.      This action is not an action described in 28 U.S.C. §1445(a) through (d).

       9.      Pursuant to 28 U.S.C. § 1446(d), promptly after the filing of this Notice of

Removal, the undersigned shall file a copy of this Notice of Removal with the Clerk of the Circuit

Court for the 3rd Circuit, Madison County, Illinois. A copy of said Notice to the Clerk is attached

hereto and filed herewith as Exhibit B.

       10.     Pursuant to 28 U.S.C. § 1446(d), promptly after the filing of this Notice of

Removal, the undersigned shall give written notice to all adverse parties, through Plaintiff’s

counsel of record. A copy of said Notice to Plaintiffs is attached hereto and filed herewith as

Exhibit C.




                                                18-1668
                                               Page 2 of 3
   Case 3:18-cv-01668-NJR Document 1 Filed 08/30/18 Page 3 of 3 Page ID #3




       11.     Defendants, by this Notice, have satisfied all jurisdictional requirements for the

removal of this action from the Circuit Court for the 3rd Judicial Circuit, Madison County, Illinois,

to the United States District Court for the Southern District of Illinois.

       12.     Also filed with this Notice of Removal is the Civil Cover Sheet.

       WHEREFORE, Defendants Southern Illinois University at Edwardsville (SIUE) and

Randall G. Pembrook give notice that the above-captioned action, initiated in the Circuit Court for

the 3rd Judicial Circuit, Madison County, Illinois, is hereby removed to the United States District

Court for the Southern District of Illinois, for the reasons set forth above.

                                               Respectfully submitted,

                                               TUETH, KEENEY, COOPER, MOHAN
                                               & JACKSTADT, P.C.


                                               By: __s/ Katherine L. Nash_______________
                                                     Katherine L. Nash IL Bar No. 6279320
                                                     34 N. Meramec Avenue, Suite 600
                                                     St. Louis, MO 63105
                                                     Telephone: (314) 880-3600
                                                     Fax: (314) 880-3601
                                                     knash@tuethkeeney.com

                                               Attorneys for Defendants Southern Illinois
                                               University at Edwardsville (SIUE) and Randall G.
                                               Pembrook




                                               18-1668
                                              Page 3 of 3
